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         4.The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to
         one drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to
         exceed eight tests per month, as directed by the Probation Officer.

         5.The defendant shall participate in an outpatient substance abuse treatment and counseling program that
         includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The defendant shall
         abstain from using alcohol and illicit drugs, and from abusing prescription medications during the period of
         supervision.

         6.As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
         treatment to the aftercare contractors during the period of community supervision. The defendant shall provide
         payment and proof of payment as directed by the Probation Officer. If the defendant has no ability to pay, no
         payment shall be required.

         Computer Restrictions

         7.The defendant shall possess and use only those computers and computer-related devices, screen usernames,
         passwords, email accounts, and internet service providers (ISPs), social media accounts, messaging applications
         and cloud storage accounts, that have been disclosed to the Probation Officer upon commencement of supervision.
         Any changes or additions are to be disclosed to the Probation Officer prior to the first use. Computers and
         computer-related devices include personal computers, internet appliances, electronic games, cellular telephones,
         digital storage media, and their peripheral equipment, that can access, or can be modified to access, the internet,
         electronic bulletin boards, and other computers.

         8.All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be subject
         to search, seizure and computer monitoring. This shall not apply to items used at the employment site that are
         maintained and monitored by the employer.

         9.The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The defendant
         shall pay the cost of the Computer Monitoring Program.

         Sex Offender Conditions

         10.Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep the
         registration current, in each jurisdiction where the defendant resides, is employed and is a student, pursuant to the
         registration procedures that have been established in each jurisdiction. When registering for the first time, the
         defendant shall also register in the jurisdiction in which the conviction occurred if different from the defendant's
         jurisdiction of residence. The defendant shall provide proof of registration to the Probation Officer within 48
         hours of registration.

         11.The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender
         treatment program, or any combination thereof as approved and directed by the Probation Officer. The defendant
         shall abide by all rules, requirements, and conditions of such program, including submission to risk assessment
         evaluations and physiological testing, such as polygraph and Abel testing. The defendant retains the right to
         invoke the Fifth Amendment. The Court authorizes the Probation Officer to disclose the Presentence Report, and
         any previous mental health evaluations or reports, to the treatment provider. The treatment provider may provide


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         information (excluding the Presentence report), to State or local social service agencies (such as the State of
         California, Department of Social Service), for the purpose of the client's rehabilitation.

         12.As directed by the Probation Officer, the defendant shall pay all or part of the costs of psychological counseling
         or psychiatric treatment, or a sex offender treatment program, or any combination thereof to the aftercare
         contractor during the period of community supervision. The defendant shall provide payment and proof of
         payment as directed by the Probation Officer. If the defendant has no ability to pay, no payment shall be required.

         13.The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
         drawings, videos, or video games, depicting or describing child pornography, as defined in 18 U.S.C. §2256(8),
         or sexually explicit conduct depicting minors, as defined at 18 U.S.C. §2256(2). This condition does not prohibit
         the defendant from possessing materials solely because they are necessary to, and used for, a collateral attack, nor
         does it prohibit the defendant from possessing materials prepared and used for the purposes of the defendant's
         Court-mandated sex offender treatment, when the defendant's treatment provider or the probation officer has
         approved of the defendant's possession of the material in advance.

         14.The defendant shall not own, use or have access to the services of any commercial mail-receiving agency, nor
         shall the defendant open or maintain a post office box, without the prior written approval of the Probation Officer.

         15.The defendant shall not enter, or loiter, within 100 feet of school yards, parks, public swimming pools,
         playgrounds, youth centers, video arcade facilities, amusement and theme parks, or other places primarily used
         by persons under the age of 18, without the prior written authorization of the probation officer.

         16.The defendant shall not associate or have verbal, written, telephonic, or electronic communication with any
         person under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor; and (b) on
         the condition that the defendant notify said parent or legal guardian of the defendant's conviction in the instant
         offense/prior offense. This provision does not encompass persons under the age of 18, such as waiters, cashiers,
         ticket vendors, etc., whom the defendant must interact with in order to obtain ordinary and usual commercial
         services.

         17.The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a business or
         organization that causes the defendant to regularly contact persons under the age of 18.

         18.The defendant shall not affiliate with, own, control, or be employed in any capacity by a business whose
         principal product is the production or selling of materials depicting or describing “sexually explicit conduct,” as
         defined at 18 U.S.C. § 2256(2).




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         19. The defendant's employment shall be approved by the Probation Officer, and any change in employment
         must be pre-approved by the Probation Officer. The defendant shall submit the name and address of the proposed
         employer to the Probation Officer at least ten (10) days prior to any scheduled change.

         20.The defendant shall submit to a search, at any time, with or without warrant, and by any law enforcement or
         probation officer, of the defendant's person and any property, house, residence, vehicle, papers, computers, cell
         phones, other electronic communication or data storage devices or media, email accounts, social media accounts,
         cloud storage accounts, effects and other areas under the defendant's control, upon reasonable suspicion
         concerning a violation of a condition of supervision or unlawful conduct by the defendant, or by any probation
         officer in the lawful discharge of the officer's supervision functions.

         21.The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
         drawings, videos, or video games, depicting or describing child erotica, which is defined as a person under the
         age of 18 in partial or complete state of nudity, in sexually provocative poses, viewed for the purpose of sexual
         arousal.

        The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance
abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further
redisclosure of the Presentence Report by the treatment provider is prohibited without the consent of the sentencing judge.

       The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information (excluding the
Presentence report), to State or local social service agencies (such as the State of California, Department of Social
Service), for the purpose of the client's rehabilitation.

      The Court recommends that the defendant be evaluated for participation in the Bureau of Prisons’ RDAP
Program.

       The Court recommends that the defendant be designated to a Bureau of Prisons’ facility in Southern California
and has no objection to Terminal Island or Lompoc.

         Counsel for the government motions the Court to dismiss all remaining counts. Motion granted.

         A restitution hearing has been placed on calendar for hearing on December 6, 2021 at 1:30 p.m.




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         Defendant is advised of his right to appeal.

         The defendant is remanded into custody forthwith. Remand order issued in Court.

         Defendant’s bond is exonerated.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            September 23, 2021
            Date                                                  R. GARY KLAUSNER, United States District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            September 23, 2021                              By    /s/ Sharon L. Williams
            Filed Date                                            Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable              defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before          vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                 the most effective manner.
       change;




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.

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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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